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 18
                            UNITED STATES DISTRICT COURT
 19
                          CENTRAL DISTRICT OF CALIFORNIA
 20
       VERNON UNSWORTH,                         Case No. 2:18-cv-08048
 21
                   Plaintiff,                   Judge: Hon. Stephen V. Wilson
 22
 23          vs.                                JOINT STIPULATION FOR ORDER
                                                OF FINAL JUDGMENT
 24
       ELON MUSK,
 25
 26                Defendant.

 27
 28

                          JOINT STIPULATION FOR ORDER OF FINAL JUDGMENT
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   1          Pursuant to Federal Rules of Civil Procedure 54 and 58, Plaintiff Vernon
   2 Unsworth and Defendant Elon Musk (the “parties”) hereby stipulate and the Court
   3 orders as follows:
   4          WHEREAS Plaintiff Vernon Unsworth filed this action against Defendant
   5 Elon Musk on September 18, 2018 (the “action”);
   6          WHEREAS a jury trial commenced on December 3, 2019 in the above-entitled
   7 Court;
   8          WHEREAS after hearing the evidence and arguments of counsel the jury was
   9 duly instructed by the Court, and the cause was submitted to the jury;
 10           WHEREAS the jury deliberated and thereafter returned to Court with its
 11 verdict in favor of Defendant Elon Musk on December 6, 2019;
 12           WHEREAS the parties have agreed to bear their own costs;
 13           WHEREAS the parties have agreed to forego any appeals or other challenges
 14 related to the action;
 15           WHEREAS the parties desire to have final judgment entered in the action, and
 16 have agreed to fully and finally resolve any and all claims, whether at law or in
 17 equity, whether known or unknown, that the parties may have against each other;
 18           The Parties THEREFORE, request the Court ORDER, ADJUDGE, AND
 19 DECREE the following:
 20           1. Final judgment is hereby entered in favor of Defendant Musk. Plaintiff
 21              Unsworth shall have and recover nothing by reason of his complaint
 22              against Defendant Musk.
 23           2. Each party shall bear his own costs associated with this action.
 24           3. Neither party shall seek to appeal or otherwise challenge any issue arising
 25              from or relating to the action.
 26           4. The parties fully and finally release any claims whether at law or in equity,
 27              whether known or unknown, that the parties may have against each other.
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   1 IT IS SO STIPULATED.
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           Dated: December 9, 2019           Respectfully submitted,
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                           JOINT STIPULATION FOR ORDER OF FINAL JUDGMENT
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                       JOINT STIPULATION FOR ORDER OF FINAL JUDGMENT
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